Case 2:05-cV-02544-.]P|\/|-de Document 20 Filed 08/23/05 Page 1 of 3 Page|D 14

Fll.ED BY __H_ D_c_

IN THE UNITED sTATEs DISTRICT coURT 05 AUG 23 M‘HU= 2|
FoR THE wEsTERN DISTRICT oF TENNESSEE

THGMASM.GOLLD
G.ERK LF.§._€J`STR?CT COUHT
SYDNEY L. GRAHAM, W!@Sv :'?-F, ‘.it£*,‘fPHiS

Plaintiff,
Civil Action File NO.

VS 2:05CV2544

NORMAN Y. MINETA,
SECRETARY, DEPARTMENT
OF TRANSPORTATION,

Defendant.

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oRDER To ADMIT AMANDA M. wILLIAMs AND CHRIs'roPI-IER D.
llWGHl\T___A_S_CQLNM

   

IT APPEARING THAT Amanda M. Williams and Christopher D. Vaughn
are both members in good standing with the bar of the State Of

Gecrgia and are admitted to practice before the U.S. District Court
for the Northern District of Georgia,AND THAT both having certified

to this Court that they have received and are familiar with the
Local Rules of this Court, including the Guidelines cf Professional

Courtesy and Conduct;

Th!s document entered on the docket sheet| compliance
With sole 58 and/or 79(3) FRCP on g 'é j§;(‘- g 020

Case 2:05-cV-O2544-.]P|\/|-de Document 20 Filed 08/23/05 Page 2 of 3 Page|D 15

IT IS ORDERED THAT Amanda M. Williams and Christopher D.

Vaughn are both specially admitted to practice before this Court in

the instant matter.
6!?§

ORDER PREPARED BY:

 

Amanda M. Williams U. . Distr' t Court Judge
44 Broad Street, N.W. ZK 2995'
Suite 222 ¢

Atlanta, Gecrgia 30303
VOiCe: 404.524.9111

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CV-02544 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

ESSEE

 

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Alonzo H. Long

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400 United States Courthouse
Atlanta, GA 30303

Honorable Jon McCalla
US DISTRICT COURT

